
The Supreme Court affirmed the judgment of the Common Pleas on March 21, 1882, in the following opinion:
Per Curiam.
By the 7th Section of the Act of March 21, 1865, P. Laws, 459; the City Councils of Reading were empowered to provide for the collection of all. water rates, “said rates shall be collected in the same manner and under the same restrictions as are now provided for by the Charter of the City of Reading for the collection of city taxes on real estate.” By the Act of April 26, 1¿64, P. Laws 600 : “An act revising the charter of the Municipal Corporation of the City of Reading,” Sect. 42; *21recovery may be had on claims for taxes, “by action of debt to recover a general judgment against the debtor.” To have registered the water rate as a lien against the jail and Court house, would have been a vain and useless thing, which the law will never compel. No proceedings could reach and sell ■the property against which the lien was entered. There was no ground of objection to the proceeding.
Judgment affirmed.
